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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

SHAWN BENEDICT                                     )
                                                   )
                 Plaintiff,                        )
                                                   )   Case No. _________
          vs.                                      )
                                                   )   St. Louis County, Missouri
MEDICREDIT, INC.                                   )   Associate Circuit Court
                                                   )   No. 12SL-AC33942
                 Defendant.                        )
                                                   )   NOTICE OF REMOVAL OF ACTION
                                                   )   UNDER 28.U.S.C. §1331
                                                   )
                                                   )   (FEDERAL QUESTION JURISDICTION)
                                                   )



                          NOTICE OF REMOVAL OF CIVIL ACTION

          Defendant Medicredit, Inc. ("Defendant"), pursuant to 28 U.S.C. §1441, hereby removes

this action to this Court from the Circuit Court of St. Louis, State of Missouri. This is a civil

action over which this Court has original subject matter jurisdiction under 28 U.S.C. §1331 in

that Plaintiff's Petition filed raises claims centered on the "Fair Debt Collection Practices Act", or

"FDCPA", 15 USC 1692, et. seq. In support hereof, Defendant states as follows:

I.        INTRODUCTION

          1.     Plaintiff Shawn Benedict (the "Plaintiff") filed this case, styled Shawn Benedict v.

Medicredit, Inc., Cause No. 12SL-AC33942, in the Circuit Court of St. Louis County, State of

Missouri. This lawsuit involves Plaintiff's claims relating to an allege debt with Defendant.

          2.     Plaintiff filed her two count Petition for Violation of the FDCPA, among other

things.




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II.       NOTICE OF REMOVAL IS TIMELY

          3.    On or about October 17, 2012, the Plaintiff served his Petition on Defendant.

This Notice of Removal is timely because it is filed within thirty (30) days of Defendant's receipt

of service of the Petition and within one year of the commencement of this action as mandated

by 28 U.S.C. §1446(b).

III.      FEDERAL QUESTION JURISDICTION EXISTS

          4.    The Court has original jurisdiction over this action under 28 U.S.C. §1331 and

this case may be removed pursuant to 28 U.S.C. §1441(b) because it involves a federal question

based upon the “Fair Debt Collection Practices Act”, 15 U.S.C. §1692a.

IV.       REMOVAL TO THIS DISTRICT IS PROPER

          5.    Removal venue exists in the United States District Court for the Eastern District

of Missouri and is proper in this Court because the Circuit Court of St. Louis County, State of

Missouri is within the Eastern District of Missouri.

          6.    Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81-2.03, true and correct copies

of all pleadings on file at St. Louis County to date are attached hereto as Exhibit A.

          7.    Written notice of the filing of this Notice of Removal will be promptly served on

the attorney for Plaintiff and a copy has been filed with the Clerk of the Circuit Court of St.

Louis County, State of Missouri.

          8.    Defendant's Notice to Clerk of Filing Notice of Removal will also be promptly

filed with the Clerk of the Circuit Court of St. Louis County, State of Missouri.

          9.    Defendant hereby reserves any and all rights to assert any and all defenses to

Plaintiff's Petition, including but not limited to failure to state a claim upon which relief can be

granted.

          10.   Defendant reserves the right to amend or supplement this Notice of Removal.


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        11.    Defendant has not answered the Petition in state court, and will do so consistent

with Fed. R. Civ. P. 8(c).

        WHEREFORE, Medicredit, Inc. respectfully removes this action now pending in the

Circuit Court of St. Louis County, State of Missouri to this Court.



                                             LATHROP & GAGE LLP



                                             /s/ Scott J. Dickenson
                                             Scott J. Dickenson, #50478MO
                                             Jaimie L. Thompson, #60948MO
                                             7701 Forsyth Blvd., Suite 500
                                             Clayton, MO 63105
                                             Telephone: (314) 613-2800
                                             Telecopier: (314) 613-2801
                                             sdickenson@lathropgage.com
                                             jlthompson@lathropgage.com

                                             Attorneys for Defendant
                                             Medicredit, Inc.




                                CERTIFICATE OF SERVICE

        I hereby certify a true copy of the foregoing Notice of Removal was served, by First

Class United States Mail, Postage Prepaid on this 16th day of November, 2012 to the following:

        James W. Eason
        Eason & Voytas, LLC
        1 North Taylor Ave.
        St. Louis, MO 63108




                                             /s/ Scott J. Dickenson




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